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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


  ALAN GRAYSON,

                          Plaintiff,

  v.                                                     Case No: 6:20-cv-1824-PGB-LHP

  NO LABELS, INC., PROGRESS
  TOMORROW, INC., UNITED
  TOGETHER, INC., NANCY
  JACOBSON, MARK PENN and
  JOHN DOES,

                          Defendants.
                                                /

                                                ORDER

          This case arises from the August 28, 2018, Democratic Party Primary

  Election for a seat in the United States House of Representatives for Florida’s

  Ninth Congressional District, in which Darren Soto defeated former Congressman

  Plaintiff Alan Grayson. (Docs. 136, 137). In his Second Amended Complaint,1

  Plaintiff sues Defendants Progress Tomorrow, Inc. (a now-defunct political action

  committee), United Together, Inc. (another now-defunct political action

  committee), No Labels, Inc. (a nonprofit organization), Nancy Jacobson (the

  president and founder of No Labels, Inc.), and Mark Penn (Nancy Jacobson’s




  1    Plaintiff originally initiated this action in state court, which Defendants removed to this Court
       on October 2, 2020. (Doc. 1). Plaintiff filed his Second Amended Complaint on April 21, 2021.
       (Doc. 35).
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  husband) for defamation (Count I),2 defamation by implication (Count II),3 and

  civil conspiracy to commit the allegedly defamatory acts (Count III).4 (Docs. 35,

  136, 137). Specifically, Plaintiff claims that Defendants, “acting through” Progress

  Tomorrow, Inc., published defamatory statements on various platforms that

  ruined his reputation and caused him to lose the 2018 congressional campaign.

  (Doc. 35, ¶ 1).

         Now before the Court are Defendants’ respective Motions for Summary

  Judgment (Docs. 94, 95),5 Plaintiff’s responses in opposition (Docs. 110, 111), and




  2   “Federal courts sitting in diversity apply the substantive law of the forum state.” Grange Mut.
      Cas. Co. v. Woodard, 826 F.3d 1289, 1295 (11th Cir. 2016). “Defamation under Florida law
      has these five elements: (1) publication; (2) falsity; (3) the statement was made with
      knowledge or reckless disregard as to the falsity on a matter concerning a public official . . . ;
      (4) actual damages; and (5) the statement must be defamatory.” Turner v. Wells, 879 F.3d
      1254, 1262 (11th Cir. 2018) (citing Jews for Jesus, Inc. v. Rapp, 997 So. 2d 1098, 1106 (Fla.
      2008)).
  3   “[D]efamation by implication is a well-recognized species of defamation that is subsumed
      within the tort of defamation,” and it “turns on whether the ‘gist’ of the publication is false.”
      Jews for Jesus, 997 So. 2d at 1108; Turner, 879 F.3d at 1269 (collecting Florida case law).

  4   Under Florida law, a civil conspiracy claim has four elements: (1) an agreement between two
      or more parties; (2) to do an unlawful act or to do a lawful act by unlawful means; (3) the doing
      of some overt act in pursuance of the conspiracy; and (4) damage to the plaintiff as a result of
      the acts done under the conspiracy. See United Techs. Corp. v. Mazer, 556 F.3d 1260, 1271
      (11th Cir. 2009) (quoting Charles v. Fla. Foreclosure Placement Ctr., LLC, 988 So. 2d 1157,
      1159–60 (Fla. 3d DCA 2008)).

  5   United Together, Inc., No Labels, Inc., Nancy Jacobson, and Mark Penn argue that only
      Progress Tomorrow, Inc., published the allegedly defamatory statements. (Doc. 95).
      Therefore, Progress Tomorrow, Inc., moves for summary judgment separately (Doc. 94), and
      the other Defendants’ brief focuses solely on the publication element of the defamation claims
      (Doc. 95). However, the other Defendants’ brief incorporates by reference the arguments
      advanced by Progress Tomorrow, Inc., as to the other elements of the defamation claims. (Doc.
      95, p. 20). Accordingly, even though the Court refers exclusively to Progress Tomorrow, Inc.’s
      Motion for Summary Judgment for the purposes of this Order, the Court refers to Defendants
      collectively.



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  Defendants’ replies thereto (Docs. 113, 114). Upon consideration, the Motions for

  Summary Judgment are due to be granted.

  I.    STANDARD OF REVIEW

        To prevail on a motion for summary judgment under Federal Rule of Civil

  Procedure 56, the movant must show “that there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law.” FED. R.

  CIV. P. 56(a). “An issue of fact is ‘material’ if, under the applicable substantive law,

  it might affect the outcome of the case. An issue of fact is ‘genuine’ if the record

  taken as a whole could lead a rational trier of fact to find for the nonmoving party.”

  Harrison v. Culliver, 746 F.3d 1288, 1298 (11th Cir. 2014) (internal quotations

  omitted).

        The Court must “view the evidence and all factual inferences therefrom in

  the light most favorable to the [nonmoving] party, and resolve all reasonable

  doubts about the facts in favor of the non-movant.” Davila v. Gladden, 777 F.3d

  1198, 1203 (11th Cir. 2015) (quoting Carter v. City of Melbourne, 731 F.3d 1161,

  1166 (11th Cir. 2013) (per curiam)). “A mere ‘scintilla’ of evidence supporting the

  opposing party’s position will not suffice; there must be enough of a showing that

  the jury could reasonably find for that party.” Brooks v. Cnty. Comm’n of Jefferson

  Cnty., 446 F.3d 1160, 1162 (11th Cir. 2006) (quoting Walker v. Darby, 911 F.2d

  1573, 1577 (11th Cir. 1990)).

        Importantly, there is “no express or implied requirement in Rule 56 that the

  moving party support its motion with affidavits or other similar materials negating



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  the opponent’s claim.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (emphasis

  in original). “[W]here the nonmoving party will bear the burden of proof at trial on

  a dispositive issue, a summary judgment motion may properly be made in reliance

  solely on the pleadings, depositions, answers to interrogatories, and admissions on

  file.” Id. (internal quotations omitted). “Such a motion, whether or not

  accompanied by affidavits, will be made and supported as provided in this rule,

  and Rule 56(e) therefore requires the nonmoving party to go beyond the pleadings

  and by her own affidavits, or by the depositions, answers to interrogatories, and

  admissions on file, designate specific facts showing that there is a genuine issue for

  trial.” Id. (internal quotations omitted).

  II.      GOVERNING LAW: DEFAMATION & THE FIRST AMENDMENT6

           The seminal case on the intersection between the tort of defamation and the

  protections of the First Amendment, New York Times Co. v. Sullivan, emphasizes

  the “profound national commitment to the principle that debate on public issues

  should be uninhibited, robust, and wide-open, and that it may well include

  vehement, caustic, and sometimes unpleasantly sharp attacks on government and

  public officials.” 376 U.S. 254, 270 (1964). Given the importance of the First

  Amendment’s “guarantees,” a public figure cannot prevail in a defamation lawsuit

  unless he demonstrates, by clear and convincing proof, that the defendants

  published the allegedly defamatory statements with “actual malice,” meaning


  6     Florida law governs the merits of the instant defamation causes of action, but the “standards
        for public figures and ‘actual malice’ derive from the First Amendment and thus . . . are matters
        of federal law.” Berisha v. Lawson, 973 F.3d 1304, 1314 n.6 (11th Cir. 2020).



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  “with knowledge that it was false or with reckless disregard of whether it was false

  or not.” New York Times, 376 U.S. at 279–80; Harte-Hanks Commc’ns., Inc. v.

  Connaughton, 491 U.S. 657, 659 (1989).

        “That is, he must be able to show—well beyond a preponderance of the

  evidence—that the defendants published a defamatory statement either with actual

  knowledge of its falsity or with a ‘high degree of awareness’ of its ‘probable falsity.’”

  Berisha, 973 F.3d at 1312 (quoting Garrison v. Louisiana, 379 U.S. 64, 74 (1964)).

  The actual malice standard “is a subjective test, which asks whether the

  [defendants] ‘in fact entertained serious doubts as to the truth of [their]

  publication[s].’” Id. (emphasis in original) (quoting Silvester v. Am. Broad. Cos.,

  839 F.2d 1491, 1498 (11th Cir. 1988)).

        Certain circumstantial evidence, such as the defendants’ motivations or lack

  of diligence, bears on the existence of actual malice:

               Professions of good faith will be unlikely to prove persuasive,
               for example, where a story is fabricated by the defendant[s],
               is the product of [their] imagination[s], or is based wholly on
               an unverified anonymous telephone call. Nor will they be
               likely to prevail when the [] allegations are so inherently
               improbable that only a reckless man would have put them in
               circulation. Likewise, recklessness may be found where there
               are obvious reasons to doubt the veracity of the informant or
               the accuracy of his reports.

  Michel v. NYP Holdings, Inc., 816 F.3d 686, 703 (11th Cir. 2016) (quoting St.

  Amant v. Thompson, 390 U.S. 727, 731 (1968)). However, “courts must be careful

  not to place too much reliance on such [circumstantial evidence]” as “the actual




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  malice standard is not satisfied merely through a showing of ill will or ‘malice’ in

  the ordinary sense of the term.” Harte-Hanks, 491 U.S. at 667–68.

        Furthermore, “[e]ven an ‘extreme departure from professional publishing

  standards’ does not necessarily rise to the level of actual malice.” Berisha, 973 F.3d

  at 1312 (quoting Harte-Hanks, 491 U.S. at 665); see St. Amant, 390 U.S. at 731

  (“[R]eckless conduct is not measured by whether a reasonably prudent man would

  have published, or would have investigated before publishing.”). “Thus, a failure to

  investigate, standing on its own, does not indicate the presence of actual malice.

  Rather, there must be some showing that the defendant[s] purposefully avoided

  further investigation with the intent to avoid the truth.” Michel, 816 F.3d at 703

  (internal citations omitted).

        The inverse is also true: the defendants’ reasonable reliance on previously

  published reports from independent, reputable sources “defeat[s] any claim of

  actual malice.” Berisha, 973 F.3d at 1313. Likewise, “[w]here [the defendants]

  give[] readers sufficient information to weigh for themselves the likelihood of an

  article’s veracity, it reduces the risk that readers will reach unfair (or simply

  incorrect) conclusions, even if the [defendants themselves have],” and rebuts the

  presence of actual malice. Michel, 816 F.3d at 703; see also Klayman v. City Pages,

  650 F. App’x 744, 751 (11th Cir. 2016) (“Evidence that an article contains

  information that readers can use to verify its content tends to undermine claims of

  actual malice. . . . [I]f the defendants actually had been highly aware of the




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  publications’ falsity, it is unlikely they would have included source information

  that refuted any defamatory claims or implications.”).

  III.   ANALYSIS

         There are two categories of allegedly defamatory statements at issue. The

  Court examines these categories in turn and ultimately concludes that summary

  judgment in favor of Defendants is proper because there is no clear and convincing

  proof of actual malice.

         A.    The First Category: Plaintiff’s Conduct as a Former
               Congressman

         First, the Second Amended Complaint contests two print advertisements, or

  “mailers,”   containing    the   following     statements:    “Congressional     Ethics

  Investigation Found Alan Grayson Abused His Office for Financial Gain”; “A

  Congressional Ethics Investigation found evidence that Alan Grayson Abused His

  Position in Congress to enrich himself”; “as a congressman, he . . . [h]id income on

  his public disclosures” and “[u]sed taxpayer resources to conduct his high-risk

  investor scheme”; “Alan Grayson Used His [Congressional] Office For His Own

  Financial Gain.” (Doc. 35, ¶¶ 19–22). The Second Amended Complaint describes

  the first mailer as a picture of Plaintiff lounging on the beach in the Cayman Islands

  with a cocktail. (Id. ¶ 21). It describes the front of the second mailer as a picture of

  a figure striding towards a jet bound for the Cayman Islands, an attaché case in

  hand. (Id. ¶ 22). On the back, the open attaché case reveals stacks of cash and




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  Plaintiff’s passport photograph, with dollar signs replacing his eyes. (Id.).7 The

  Second Amended Complaint also alleges that the same content appeared online,

  alongside other statements that Plaintiff: “used international government travel to

  drum up business for his hedge fund”; “used Congressional staff to work for the

  fund” (omitting the fact that the staffer worked for the fund when Plaintiff was not

  a member of Congress); and called for a reporter’s arrest after the reporter asked

  Plaintiff some questions (omitting the fact that Plaintiff called for the reporter’s

  arrest because the reporter repeatedly chest-bumped him in an ambush interview).

  (Id. ¶¶ 30–31, 33 n.13, 35–36, 57).8

         Interestingly, the Second Amended Complaint does not attach the contested

  mailers or the allegedly defamatory online content. However, Defendants attach

  the described mailers to their brief,9 and, notably, the Second Amended Complaint

  leaves out a few details. Both mailers cite to a December 18, 2015, report by the



  7   In a footnote, the Second Amended Complaint describes a third mailer as a picture of a
      Cayman Islands beach with the caption, “Where Alan Grayson Made Congress Work For
      Him.” (Id. ¶ 21 n.2). It is not clear whether this mailer forms part of the basis of Plaintiff’s
      lawsuit, particularly as the parties do not discuss it in their briefs; regardless, the logic herein
      applies to the footnoted mailer with equal force.
  8   In another footnote, the Second Amended Complaint mentions that Defendants made another
      defamatory statement, “Grayson pushed reporter.” (Id. ¶ 23 n.6). Again, it is not clear whether
      this statement forms part of the basis of Plaintiff’s lawsuit, particularly as the parties do not
      discuss it in their briefs; regardless, the logic herein applies to the footnoted statement with
      equal force.
  9   In their brief, Defendants state that Plaintiff’s Amended Answers to Interrogatories alleged
      that all publications produced by Defendants during discovery are also defamatory. (Doc. 94,
      p. 11 n.1). Thus, “in an abundance of caution,” Defendants attach all publications produced
      during discovery. (Id.). However, the Court limits its review to those allegedly defamatory
      publications specified in the Second Amended Complaint; Plaintiff cannot further amend his
      pleading through his Amended Answers to Interrogatories. See FED. R. CIV. P. 15(a).



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  Office of Congressional Ethics (“OCE”) and encourage readers to review it

  themselves and “check the facts” in three different places. (Docs. 94-21, 94-23). As

  is relevant here, the nearly 1,000-page OCE report, also attached to Defendants’

  brief, finds “substantial reason to believe” that: Plaintiff “improperly allowed the

  use of his name by four entities connected to [his] hedge fund,” including entities

  in the Cayman Islands, “and received compensation through management fees”;

  Plaintiff “improperly omitted information related to his assets, unearned and

  earned income, reportable agreements and positions from his [annual financial]

  disclosure statements”; and “[Plaintiff’s] congressional staffer improperly used

  official resources for unofficial purposes, including the use of staff time and

  resources to perform work for [his] hedge fund.” (Doc. 94-8, pp. 2, 11–25, 39–59,

  73).

         In addition to the OCE report, one of the mailers cites to a June 30, 2015,

  Politico article, “Grayson hedge funds skirt ethics rule,” and Defendants attach the

  article—which they assert has not been retracted and remains available online—to

  their brief. (Docs. 94-11, 94-21). In it, Politico reports that Plaintiff managed

  “hedge funds that use his name in their title[s],” “two of which are based in the

  Cayman Islands,” “a practice prohibited by congressional ethics rules designed to

  prevent members from using their elected post for financial gain.” (Doc. 94-11, p.

  1). Defendants also attach a February 11, 2016, New York Times article, “Alan

  Grayson’s Double Life: Congressman and Hedge Fund Manager,” to their brief,

  again asserting that it has not been retracted and remains available online:



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                  This highly unusual dual role—a sitting House lawmaker
                  running a hedge fund, which until recently had operations in
                  the Cayman Islands—has led to an investigation of Mr.
                  Grayson by the House Committee on Ethics. The inquiry has
                  become public, but emails and marketing documents
                  obtained by [The New York Times] show the extent to which
                  Mr. Grayson’s roles as a hedge fund manager and a member
                  of Congress were intertwined, and how he promoted his
                  international travels, some with congressional delegations, to
                  solicit business.

  (Doc. 94-10, p. 1). As to their statements regarding the incident between Plaintiff

  and the reporter, Defendants attach July 2016 articles by Politico,10 The

  Washington Post,11 Orlando Weekly,12 and Vanity Fair,13 to their brief, once more

  asserting that these reports have not been retracted and remain available online.

  (Docs. 95-15, 94-16, 94-17, 94-18).


  10   “Rep. Alan Grayson threatened to have a POLITCO reporter arrested . . ., alleging that the
       reporter assaulted him as he attempted to question the congressman about allegations of
       domestic abuse.” (Doc. 94-15, p. 1).

  11   “There is no perfectly right way to handle allegations of domestic violence, but Rep. Alan
       Grayson (D-Fla.) just demonstrated the totally wrong way. At an event hosted by Politico in
       Philadelphia, site of the Democratic National Convention, Grayson . . . got in the face of—and
       made contact with—Edward-Isaac Dovere, a reporter for Politico, which earlier in the day
       published claims of abuse by the congressman’s ex-wife.” (Doc. 94-16, p. 2).

  12   “U.S. Rep. Alan Grayson was caught on video threatening to call police on a Politico reporter
       who was asking him questions about a report where his ex-wife Lolita [Carson-Grayson] says
       she repeatedly went to law enforcement officials accusing the congressman of alleged
       domestic abuse over a two-decade period. . . . Grayson appears to push past Dovere . . . After
       they both accused each other of pushing, Dovere says there’s evidence of who started it on
       video. Grayson tells him, ‘Well that’s right and it’s a good thing. I’ll be handing it over to the
       Capitol police, my friend.’ After some more arguing, Grayson tells Dovere, ‘You know, I hope
       somebody comes here and arrests you.’” (Doc. 94-17, pp. 1–2).
  13   “Mere hours after Politico revealed 20 years’ worth of claims of domestic abuse filed against
       the congressman by his ex-wife, Lolita [Carson-Grayson], the politician lashed out at a
       reporter from the outlet, Edward-Isaac Dovere, whom he threatened to have arrested. The
       altercation, which occurred at a Politico event in Philadelphia, was caught on tape. In the
       footage, Grayson can be heard saying, ‘You’re assaulting a member of Congress,’ and, ‘You
       know, I’m hoping someone comes here and arrests you,’ after Dovere asks for a comment on
       the alleged domestic abuse.” (Doc. 94-18, p. 2).



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          Thus, Defendants correctly contend that their reasonable reliance on

  previously published reports from these independent, reputable sources for all

  their advertisements, as well as their citation to some of these sources in the

  mailers, rebuts the presence of actual malice. See Berisha, 973 F.3d at 1313; Michel,

  816 F.3d at 703.

          Perplexingly, Plaintiff’s response brief14 raises a vague hearsay objection to

  all of Defendants’ attached exhibits. (Doc. 110, pp. 3–5). Because Plaintiff does not

  define the basis for his hearsay objection, and therefore “decline[s] to put forth any

  argument on the issue or provide legal authority in support of [his] position,” the

  objection is overruled. Nephron Pharms. Corp. v. Hulsey, No. 6:18-cv-1573, 2020

  WL 7137992, at *3 (M.D. Fla. Dec. 7, 2020) (citing U.S. Steel Corp. v. Astrue, 495

  F.3d 1272, 1287 n.13 (11th Cir. 2007)).

          Even setting aside this glaring defect, Plaintiff’s hearsay objection is clearly

  baseless. The attached mailers are not hearsay; they are not offered for the truth of

  the matter but rather to show the legally operative facts at issue (i.e., the allegedly

  defamatory words in the full context in which they were published). FED. R. EVID.

  801(c).15 Likewise, the attached reports are not hearsay; they are not offered for

  the truth of the matter but rather to show the effect of those reports on Defendants,


  14   Most of Plaintiff’s response brief is in single-spaced, bullet-pointed, 12-point font. (Doc. 110).
       Normally, the Court would strike this filing as a blatant violation of Local Rules 1.08 and 3.01,
       but it suffers through this headache-inducing format in the interests of judicial efficiency.
  15   This applies to the mailers identified in the Second Amended Complaint as well as all the other
       allegedly defamatory publications attached to Defendants’ brief, supra note 9. (See Docs. 94-
       21, 94-22, 94-23, 94-24, 94-25, 94-26, 94-27, 94-28, 94-29, 94-30, 94-31, 94-32, 94-33, 94-
       34, 94-35, 94-36, 94-37).



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  and the OCE report is also admissible as a public record. FED. R. EVID. 803(8).16

  The Court does not need to consider the evidence subject to Daubert challenges

  for the purposes of this Order; Plaintiff’s broad authenticity objection to any

  documents downloaded from a website is foundationless, FED. R. EVID. 902(5)–

  (6); and Plaintiff’s objection that some of the attached publications were not

  produced during discovery is unsupported.17

          Plaintiff then disingenuously contends that “this record reeks of actual

  malice.” (Doc. 110, p. 13). Plaintiff conveniently ignores his Spoliation Motion, filed

  on January 3, 2022, which concedes “there is an incomplete record as to the extent

  that the Defendants knew or should have known that their anti-Grayson screeds

  were false (i.e., malice).” (Doc. 96, p. 9).

          Moreover, the purported “proof” of actual malice consists of:

          •       No Labels, Inc.’s boast to donors that it could destroy
                  Plaintiff’s political career.

          •       An overview of the donations received by and the transfers
                  among Defendants during the 2018 election, accompanied by


  16   (See Docs. 94-8, 94-10, 94-11, 94-12, 94-15, 94-16, 94-17, 94-18). This also applies to the
       attached police reports and medical records of spousal abuse by Lolita Carson-Grayson
       against Plaintiff, discussed in more detail below (Doc. 94-13), and to the attached 2016 and
       2018 election results by the Federal Election Commission (Docs. 94-2, 94-3).
  17   Plaintiff’s attached deposition is admissible as an opposing party’s statement, FED. R. EVID.
       801(d)(2), and the various declarations in support of Defendants’ brief can be reduced to an
       admissible form at trial by calling the declarants to testify, FED. R. EVID. 601, or, if they are
       unavailable, by offering their previously sworn testimonies at trial, FED. R. EVID. 804(b)(1).
       See Rowell v. BellSouth Corp., 433 F.3d 794, 800 (11th Cir. 2005) (“On motions for summary
       judgment, we may consider only that evidence which can be reduced to an admissible form);
       (Docs. 94-1, 94-4, 94-5, 94-6, 94-7, 94-9, 94-14, 94-19, 94-20, 94-38, 94-39, 94-42, 94-43,
       94-45). Additionally, the attached pleading by Plaintiff against Thomas Ubl (Doc. 94-39) is
       subject to judicial notice “for the limited purpose of recognizing . . . the subject matter of the
       litigation.” U.S. v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994); FED. R. EVID. 201.



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                  Plaintiff’s speculations that Defendants used this money to
                  publish the allegedly defamatory statements against him.

          •       Plaintiff’s observation that he and one of Defendants’ major
                  donors, Fox News, “had attacked each other for years.”

          •       Emails from Defendants’ counsel and opposition researcher
                  evaluating various advertisements for potential defamation
                  liability, most of which advise the qualification of certain
                  statements and the accurate quotation of source materials,
                  and Plaintiff’s commentary that Defendants failed to heed this
                  advice in numerous allegedly defamatory publications.

          •       Plaintiff’s statement that although Defendants were aware
                  that the OCE report does not contain final conclusions
                  regarding his guilt or innocence of the ethical violations
                  alleged against him, their allegedly defamatory publications
                  “indicate the opposite.”

          •       Plaintiff’s counsel’s cease and desist letter to Defendants,
                  “informing them that their attacks were false and
                  defamatory,” and Plaintiff’s remark that “[t]here is no
                  indication that the Defendants did anything to check . . . their
                  facts after this.”

  (Doc. 110, pp. 3, 7, 11–13). As a preliminary matter, Plaintiff’s various theories and

  conjectures regarding Defendants’ liability are insufficient at the summary

  judgment stage of this proceeding to carry his case, and Plaintiff’s counsel’s cease

  and desist letter characterizing Defendants’ publications as defamatory does not

  make them so. And, as to the actual pieces of evidence referenced, Plaintiff’s

  disorderly citation to the record makes it impossible for the Court to locate them.

  The Court is under no obligation to sift through the record and, in fact, doing so

  would be improper, as the Court cannot remediate haphazard advocacy.18


  18   Another example of carelessness, Plaintiff’s brief sporadically mentions allegedly defamatory
       statements that are not challenged in the Second Amended Complaint. (See, e.g., Doc. 110, p.
       13 n.19). Plaintiff never moved to further amend his pleading, and therefore the Court cannot
       and will not consider such information. See Gimour v. Gates, McDonald & Co., 382 F.3d 1312,



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          But, even accepting Plaintiff’s professions at face value, this is far from a

  demonstration of actual malice. At most, this “evidence” merely shows ill will in

  the ordinary sense of the term and, perhaps, a deviation from professional

  publishing standards. See Harte-Hanks, 491 U.S. at 667–68.19 Thus, there is no

  clear and convincing proof that Defendants published the first category of allegedly

  defamatory statements with actual malice, and summary judgment in favor of

  Defendants as to these publications is proper.

          B.      The Second Category: Allegations of Abuse Against Plaintiff
                  by Lolita Carson-Grayson, His Ex-Wife

          Next, the Second Amended Complaint generally alleges that Defendants

  knew Lolita Carson-Grayson’s charges of abuse against Plaintiff were false and,

  nonetheless, published her statements, omitting her recantation of those

  allegations. (Doc. 35, ¶¶ 23, 32, 36, 57). However, the Second Amended Complaint

  does not state what allegations of abuse were recanted by Lolita Carson-Grayson,

  attach the challenged publications, or otherwise describe the allegedly defamatory

  statements at issue with any specificity.

          In their brief, Defendants list the allegedly defamatory statements

  (apparently) at issue and attach the (supposedly) challenged publications: “Her


       1314–15 (11th Cir. 2004) (“[T]he Supreme Court has mandated a liberal pleading standard for
       civil complaints under Federal Rule of Civil Procedure 8(a). This standard however does not
       afford plaintiffs with an opportunity to raise new claims at the summary judgment stage. . . .
       At the summary judgment stage, the proper procedure for plaintiffs to assert a new claim is to
       amend the complaint in accordance with [Rule] 15(a). A plaintiff may not amend her
       complaint through argument in a brief opposing summary judgment.”).
  19   Actually, the fact that Defendants vetted their advertisements through counsel and their
       opposition researcher could further undermine the presence of actual malice.



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  husband came up behind her and hit her on the back of the head with a large book”;

  “Mr. Grayson . . . hit her in the back of her head . . . and told her ‘I’m gonna kill

  you’”; “Alan Grayson’s ex-wife repeatedly reported Grayson to police for verbally

  and physically abusing her over two decades”; “Alan Grayson, serial abuser”; “Two

  decades of reported abuse. Alan Grayson: enough is enough.” (Doc. 94, p. 10; Docs.

  94-22, 94-24, 94-25, 94-26, 94-28, 94-31, 94-32, 94-33, 94-34). Again, many of

  the challenged publications cite to articles by independent, reputable sources and

  encourage readers to review these sources themselves and “check the facts.” (Doc.

  94, p. 11; Docs. 94-22, 94-24, 94-26, 94-28, 94-33). And, again, Defendants assert

  that they reasonably relied on these previously published reports of Lolita Carson-

  Grayson’s allegations against Plaintiff, particularly a July 26, 2016, Politico article

  titled “Grayson’s ex-wife claimed domestic abuse over two decades.” (Doc. 94, pp.

  5–6; Doc. 94-12). As part of the article, Politico published police reports and

  medical records provided by Lolita Carson-Grayson that seem to corroborate her

  allegations. (Doc. 94, pp. 5–6; Doc. 94-13).

        In response, Plaintiff again raises the same vague hearsay objections, which,

  again, are baseless for the reasons stated above. (Doc. 110, pp. 3–5). Plaintiff then

  provides a completely irrelevant narrative of the tumultuous annulment

  proceedings between him and his ex-wife, announcing that “[w]ithout question

  Lolita Carson-Grayson is a vicious, violent, world-class liar.” (Id. at pp. 2–3, 8–10).

  Plaintiff’s opinion of his ex-wife’s veracity is immaterial to the question of




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  Defendants’ state of mind when publishing this undefined category of allegedly

  defamatory statements.

        As evidence that Defendants knew Lolita Carson-Grayson is a “liar,” Plaintiff

  cites to an opposition research report and an email exchange between Christine

  Dolan, a consultant for No Labels, Inc., and Nancy Jacobson. (Id. at pp. 8–10, 12–

  13). Once again, Plaintiff’s citations to the record are incorrect and incoherent.

  Even so, the highlighted excerpts from this “evidence” in Plaintiff’s brief only

  discusses an altercation in 2014 between Plaintiff and Lolita Carson-Grayson in

  which a video proved that she was the aggressor. Thus, at most, Plaintiff’s

  “evidence” shows that Defendants were aware that Lolita Carson-Grayson

  instigated the domestic violence incident in 2014 and lied about her role in the

  event; it does not show that Defendants were aware she was the aggressor in every

  domestic violence incident between herself and Plaintiff or that she lied about all

  allegations of abuse.

        Defendants’ reply highlights this point. They argue that Plaintiff’s response

  brief relies on an outdated September 2015 opposition research report. (Doc. 114,

  pp. 5–6). They also state that they based the challenged publications on the 2016

  Politico article, which included police reports and medical records spanning over

  20 years, some of which seem to corroborate Lolita Carson-Grayson’s allegations

  of abuse. (Doc. 114, pp. 5–6; see Docs. 94-12, 94-13). This position adds some

  clarity to Plaintiff’s comment that, “[h]ad Defendants updated their research on

  the annulment proceedings, they would have learned” of Lolita Carson-Grayson’s



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  allegedly incessant deception. (Doc. 110, p. 10) (emphasis added). However, there

  is no indication that Defendants “purposefully avoided further investigation with

  the intent to avoid the truth,” and “a failure to investigate, standing on its own,

  does not indicate the presence of actual malice.” Michel, 816 F.3d at 703 (internal

  citations omitted). Thus, there is no clear and convincing proof that Defendants

  published this amorphous second category of allegedly defamatory statements

  with actual malice, and summary judgment as to these publications is proper.

  IV.     CONCLUSION

          For these reasons, even viewing the record in the light most favorable to

  Plaintiff, there is not even a scintilla of evidence showing—much less clear and

  convincing proof of—actual malice.20 Thus, summary judgment in favor of

  Defendants on Counts I and II is proper. Furthermore, because the defamation

  claims are not viable, the civil conspiracy claim also fails, and summary judgment

  in favor of Defendants is proper on Count III. Alhassid v. Bank of Am., N.A., 60 F.

  Supp. 3d 1302, 1316 (S.D. Fla. 2014) (first citing Raimi v. Furlong, 702 So. 2d 1273,

  1284 (Fla. 3d DCA 1997), and then citing Kee v. Nat’l Rsrv. Life Ins. Co., 918 F.2d

  1538, 1541–42 (11th Cir. 1990)) (holding that a civil conspiracy must be based on




  20   Consequently, the Court does not need to address the other arguments advanced in
       Defendants’ briefs. (Docs. 94, 95). And, logically, because defamation by implication is merely
       a subset of defamation, the same actual malice standard applies. See Jews for Jesus, 997 So.
       2d at 1108. That is, a defamation by implication claim cannot stand independently of a
       defamation claim here; defamation by implication simply recognizes a different type of false
       statement. Thus, because the defamation claim fails, the defamation by implication claim
       must also fail.



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  “an underlying illegal act or tort”); Liappas v. Augoustis, 47 So. 2d 582, 582–83

  (Fla. 1950) (same).

        Accordingly, it is ORDERED and ADJUDGED that Defendants’ Motions

  for Summary Judgment (Docs. 94, 95) are GRANTED. The Clerk of Court is

  DIRECTED to enter judgment in favor of Defendants and against Plaintiff and to

  thereafter close the file.

        DONE AND ORDERED in Orlando, Florida on May 20, 2022.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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